            Case 1:17-cv-07620-VSB Document 63 Filed 10/21/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOSE MARIANO VARELA-ITZMOYOTL,
 et al.,                                                     17cv07620 (VSB) (DF)

                                 Plaintiffs,                 SCHEDULING ORDER

                 -against-

 MOHINDER SINGH, SUKHJINDER
 SINGH,

                                 Defendants.

DEBRA FREEMAN, United States Magistrate Judge:

       The above-captioned case having been referred to this Court to assist the parties with

settlement, it is hereby ORDERED as follows:

       1.       The Court will hold a telephone conference in this case on November 5, 2020 at

10:00 a.m. The parties are directed to call the following Toll-Free Number: 877-411-9748 and

use Access Code: 9612281.

       2.       The Clerk of Court is directed to mail a copy of this Order to Defendants at the

address shown below.

Dated: New York, New York
       October 21, 2020

                                                       SO ORDERED


                                                       ______________________________
                                                       DEBRA FREEMAN
                                                       United States Magistrate Judge
         Case 1:17-cv-07620-VSB Document 63 Filed 10/21/20 Page 2 of 2




Copies to:

Plaintiff’s counsel (via ECF)

Mohinder Singh
c/o 94 Corner Café
2518 Broadway
New York, NY 10025

Sukhjinder Singh
c/o 94 Corner Café
2518 Broadway
New York, NY 10025




                                       2
